 1                                       IN THE UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF IOWA
                                                 CEDAR RAPIDS DIVISION
 2

 3   TRACEY K. KUEHL, et al.,                                                      )
                                                                                   )
                                                                                   )   Case No. C14-02034-LRR
 4                                     Plaintiffs,
                 v.                                                                )
                                                                                   )
 5                                                                                     PLAINTIFFS’ STATEMENT OF
     PAMELA SELLNER, et al.,                                                       )
                                                                                       MATERIAL FACTS IN SUPPORT
                                                                                   )
                                                                                       OF MOTION FOR SUMMARY
 6                                      Defendants.                                )
                                                                                       JUDGMENT
                                                                                   )
 7                                                                                 )
                                                                                       Judge: Hon. Jon Stuart Scoles
                                                                                   )
                                                                                       Trial Date: October 5-9, 2015
                                                                                   )
 8                                                                                 )

 9                          Introduction to Defendants, Plaintiffs and the Cricket Hollow Zoo

10          1.         Plaintiffs Tracey K. Kuehl, Lisa K. Kuehl, Kris A. Bell, Nancy Harvey, and John T.

                       Braumann are individual plaintiffs. Individual Plaintiffs have an interest in and are
11
                       concerned about animals. The Individuals have visited the Defendant Cricket Hollow
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                       Zoo (the “Zoo”) and were injured by witnessing and experiencing the conditions of
13
                       the Zoo and the animals, including the endangered species. The individual Plaintiffs’
14                     interests are adversely affected by the Defendants’ activities at the Zoo. See

15                     Declarations (“Decls.”) Tracey Kuehl, Lisa Kuehl, Kris Bell, Nancy Harvey, and

16                     John Braumann.

            2.         Plaintiff Animal Legal Defense Fund (ALDF) is a public interest, Cotati, California-
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                       based non-for-profit corporation. ALDF and its members have an interest in
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                       protecting animal welfare practices, and safeguarding the endangered species at the
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                       Zoo from inhumane animal husbandry practices. See, e.g., Decl. Stephen Wells ¶¶ 2,
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                 PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                             1
                 IN	  SUPPORT	  OF	  MOTION	  FOR	  SUMMARY	  JUDGMENT	  
     	  

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 1                     3-6. The Individual Plaintiffs are also members of ALDF. Id. at ¶ 7-8. Decls. T.

                       Kuehl, L. Kuehl, K. Bell, N. Harvey, J. Braumann, S. Wells ¶ 6.
 2
            3.         Individual Plaintiffs’ and Plaintiff ALDF’s (collectively “Plaintiffs”) injuries are
 3
                       caused by the Zoo’s failure to operate the Zoo and manage the Zoo’s animal care in a
 4
                       manner that adheres to at least the minimum standards for animal husbandry
 5
                       practices, as documented by the U.S. Department of Agriculture (USDA) Animal and

 6                     Plant Health Inspection Service (APHIS) inspection reports, and as experienced by

 7                     the Plaintiffs. See Decls. T. Kuehl, L. Kuehl, K. Bell, N. Harvey, J. Braumann, S.

                       Wells. Defendants own and operate the Zoo, which is the source of mistreatment of
 8
                       the endangered species referenced in the Complaint, and of Plaintiffs’ injuries. Ex. 3
 9
                       at 0276; Ex. 6 at 0384-0385.
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            4.         Individual Plaintiffs each developed an emotional connection with animals at the Zoo
11
                       and felt intense pain on their behalf. T. Kuehl Decl. ¶¶ 15, 18, 22, 24, 25, 27, 28, 30,

12                     32, Braumann Decl., ¶¶ 5, 9, 12, 18, 17, 21, 22, 24, 47, 48; Bell Decl. ¶¶ 6, 8, L.

13                     Kuehl Decl. ¶¶ 3, 9-13, 21, 23; Harvey Decl. ¶¶ 2, 11.

14          5.         Individual Plaintiffs were deeply affected by the conditions and treatment of animals

                       at the Zoo. Braumann Decl. ¶ 24 (left frustrated and angry); L. Kuehl Decl. ¶ 11 (felt
15
                       a level of compassion she had never felt before); Bell Decl. ¶ 6 (lion’s condition
16
                       “very upsetting”); Braumann Decl. ¶ 32 (watching baby baboon suffer was
17
                       “emotionally and physically draining”); T. Kuehl Decl. ¶ 4 (tiger’s “sadness spoke to
18                     me and I could hardly stand to view him[.]”, ¶ 8 (tiger repeatedly rammed its head

19                     into an enclosure and Plaintiff left out of fear for her own safety.).

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                 PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                        2
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 1          6.          Plaintiffs continued to carry the Zoo’s animals in their thoughts even after leaving.

                        See Bell Decl. ¶¶ 6, 8; Braumann Decl. ¶ 32; T. Kuehl Decl. ¶ 15, 30; L. Kuehl Decl.
 2
                        ¶ 12.
 3
            7.          Plaintiffs felt a spiritual and cultural connection with the animals, and developed
 4
                        strong personal attachments to them. See T. Kuehl Decl. ¶ 30 (shocked and saddened
 5
                        by the news of two Big Cats’ deaths); L. Kuehl Decl. ¶ 12, 14 (felt emotionally

 6                      connected to the animals that deepened after a second visit.); Braumann Decl. ¶ 23

 7                      (felt an emotional connection and couldn’t stand to witness their suffering anymore);

                        Bell Decl. ¶ 6, 8 (very concerned about the animals’ health and welfare).
 8
            8.          Many Plaintiffs contacted local, state, and federal authorities regarding the Zoo to
 9
                        conduct welfare checks on the animals. T. Kuehl Decl. ¶¶ 9-10,16-23; Bell Decl. ¶ 7;
10
                        J. Braumann Decl. ¶ 46; L. Kuehl Decl. ¶ 2, 6-7. All of the Individual Plaintiffs felt
11
                        that the Defendants’ inhumane treatment of the zoo animals left them with the

12                      Hobson’s choice of continuing to subject themselves to injury by visiting the animals

13                      and knowing that they had abandoned animals with whom they’d develop strong

14                      personal attachments. T. Kuehl Decl. ¶¶ 10, 12, 25; L. Kuehl Decl. ¶ 23; Bell Decl. ¶

                        6, 8; Harvey Decl. ¶ 14; Braumann Decl. ¶ 17-18.
15
            9.          All Plaintiffs expend resources trying to protect these animals, and a judgment in their
16
                        favor will redress their injuries. Complaint (ECF No. 2); Decl. S. Wells, T. Kuehl, L.
17
                        Kuehl, K. Bell, N. Harvey, and T. Braumann.
18          10.         Defendant Cricket Hollow Zoo is privately Iowa nonprofit corporation that owns a

19                      zoo located at 1512 210th Street, Manchester, Iowa, 52057. Defendant Pamela

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                  PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                      3
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 1                      Sellner and Tom Sellner are the owners of the Zoo’s assets. Pamela Sellner is the

                        Zoo’s Director. Ex. 6 at 0384.
 2
            11.         The zoo is not accredited by any organization. Ex. 7 at 0396 (Tr. P. Sellner p. 40:23-
 3
                        25). The Zoo exhibits its animals pursuant to a Class C Exhibitor’s license from the
 4
                        APHIS. APHIS identifies the Zoo with Certificate No. 42-C-0084. See, e.g., Ex. 2 at
 5
                        0264 (each USDA inspection report shows the exhibitor license number). The

 6                      Sellners first obtained a USDA license sometime prior to 2000, when Pam Sellner

 7                      sought to operate a mobile zoo with a “handful of animals.” From 2000 to 2006, the

                        Sellners acquired more and more animals by purchasing them from breeders; bidding
 8
                        on them at auction houses; or accepting “donations” from private zoo owners and
 9
                        operators. In 2006, the Sellners decided to convert their mobile zoo into a stationary
10
                        roadside attraction that would feature exotic animals. Ex. 7 at 0410 (Tr. P. Sellner
11
                        93:18-94:13).

12          12.         Based on March 2015 reported information, in less than 10 years, the Zoo has grown

13                      to approximately 300 animals. Ex. 2 at 0266. The Zoo operates on the Sellner’s 160

14                      acre, 45-cow active dairy farm. Ex. 3 at 0276, Ex. 7 at 0389 (Tr. P. Sellner at 11:3-

                        17). The Zoo is in close proximity to the Sellners’ private home and dairy business,
15
                        and the milking barn that is located adjacent to the Zoo’s primate enclosure. Ex. 8 at
16
                        0571.
17
            13.         The Sellners are the only persons caring for the Zoo’s animals on a daily basis. Mrs.
18                      Sellner is the only Zoo staff working at the Zoo during operating hours. Ex. 3 at

19                      0276.

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                  PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                      4
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 1          14.         USDA has inspected the Zoo several times a year since at least 2010 and has found

                        numerous violations of animal husbandry practice standards. See Ex. 1 at 0015-0021,
 2
                        0024-0052; 2 at 0054-0266 (USDA inspection reports). On at least three occasions
 3
                        since 2006, USDA has fined the Sellners for animal husbandry practice violations.
 4
                        Ex. 2 at 0055-0058, 0072, 0077-0088.
 5
            15.         In 2006, USDA noted that “it is clear that there is a chronic management problem at

 6                      the facility, and, for whatever reason, the Sellners either do not understand the

 7                      regulations, are not willing to comply, or are not able to comply.” Ex. 2 at 0054.

            16.         On April 9, 2012 USDA requested an investigation on the Sellners because the
 8
                        “[f]acility has been in chronic non-compliance since July 2010.” Ex. 2 at 0065.
 9
            17.         In 2013, the Sellners contacted USDA seeking clarification on certain standards,
10
                        appealing three citations, and asking “how good is good enough?” In response,
11
                        USDA explained the standards, and informed the Sellners that “[m]ost regulated

12                      facilities exceed those [AWA] standards, but that is not required. However, full

13                      compliance with the minimum standards is required and is expected.” Ex. 2 at 0101-

14                      0102.

            18.         Defendant Pamela Sellner admitted to not following federal requirements at the Zoo,
15
                        and that meeting them “most of the time” was sufficient by her standards. Ex. 7 at
16
                        0403 (Tr. P. Sellner 59:24-66:1).
17
            19.         Ms. Sellner admitted that she is not interested in learning about other industry
18                      standards for zookeeping. Ex. 7 at 0397 (Tr. P. Sellner at 42:20-43:5).

19          20.         At USDA inspections between 2010 and March 2015, USDA inspectors evaluated the

20                      Zoo applying the animal husbandry criteria from 9 C.F.R. Part 2 and 3. USDA

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 1                      inspectors provided detailed inspection reports to the Sellners, explaining the

                        standards and how the standard was or was not being met at the Zoo. See generally
 2
                        Ex. 1 at 0015-0021, 0024-0041; Ex. 2 at 0059-0266.
 3
            21.         Defendants admitted that since 2005 at least eleven endangered species have died
 4
                        under their care at the Zoo, including six tigers and five lemurs. Ex. 3 at 0272-0273.
 5
                        A lion died in approximately 2014 (Ex. 3 at 0272-0273) and at least two wolves have

 6                      died since 2010. Ex. 4 at 0329.

 7          22.         Under the Endangered Species Act, Plaintiffs served a 60-day notice of intent to sue

                        letter (NOI) on March 4, 2014, and filed the Complaint (ECF No. 2) on June 11,
 8
                        2014. Ex. 1. The NOI contained a declaration from Plaintiffs’ lemur expert, Peter H.
 9
                        Klopfer, Ph.D. (Ex. 1 at 0007–0014), and copies of inspection reports from 2011 –
10
                        2013 documenting Defendants’ violations of applicable animal husbandry
11
                        regulations.

12                                      Tigers, Lions, Lemurs and Wolves at the Zoo are
                                      Endangered Species under the Endangered Species Act
13
            23.         Currently, twelve (12) animals at the Zoo are endangered species under the ESA: two
14
                        lemurs (red ruffed and ring-tailed), five tigers, three lions (Asiatic or African), and
15                      two wolves. Specifically, Defendants own Panthera tigris (tigers), Panthera leo

16                      persica (Asiatic lion) or Panthera leo (African lion), Vareciea variagatus (red ruffed

17                      lemur) and Lemur catta (ring-tailed lemur), Canis lupus (gray wolves), or sub- or

                        intra-species wolves. Ex. 2 at 0266; Ex. 3 at 0270, Ex. 4 at 0344. Endangered species
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                        are entitled to protection under the ESA.
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 1          24.         Asiatic lions are protected species under the ESA. On November 27, 2012, the U.S.

                        Fish & Wildlife Service (FWS) issued a 90-day finding that “substantial scientific or
 2
                        commercial information indicat[es] that listing [the African lion] may be warranted.”
 3
                        Ex. 9 at 0709. The FWS opened up a proposed rule to list the African lion as
 4
                        endangered on January 27, 2014. The comment period for the proposed rule closed
 5
                        on January 27, 2015, and the public is now waiting for the FWS to finalize and issue

 6                      its rule listing the African lion as an endangered species.

 7          25.         Defendants’ claims that their lions are not endangered are of no import and are not

                        supported by fact. ECF No. 6 at 63; Ex. 4 at 0283, 0339. The only discovery
 8
                        Defendants produced regarding their lions was Defendants’ hand-written notations
 9
                        regarding the “African” lions. Ex. 4 at 0283, 0339.
10
            26.         Defendants’ lions are protected under the ESA.
11
            27.         Defendants’ claims that their wolves are not endangered are of no import and are not

12                      supported by fact. ECF No. 6 at ¶ 63; Ex. 4 at 0344-0345; Ex. 7 at 0421, 0432 (Tr. P.

13                      Sellner at 139:10-12; 181:11-182:6).

14          28.         The gray wolf is listed at the species level Canis lupus (50 C.F.R. § 17.11) sub-

                        species or intra-species hybrids are necessarily protected whenever an animal is listed
15
                        at the species level in order to prevent the incentivizing of hybridization of protected
16
                        species. Even common dog is a sub-species of Canis lupus, or Canis lupus familiaris,
17
                        and so hybridized wolf/dogs are also protected.
18          29.         Defendants’ claim that their wolves are “hybrids” gray wolf/dogs and not endangered

19                      species. See Ex. 7 at 0421, 0432 (Tr. P. Sellner at 139:10-12; 181:11-182:6); Ex. 4 at

20                      0344-0345. The only discovery Defendants produced regarding the alleged “hybrid”

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 1                      nature of the wolves is a document with the self-serving statement, “75% wolf”

                        handwritten at the top. Ex. 4 at 0344.
 2
            30.         Defendants house the wolves in an enclosure with a sign that says “endangered
 3
                        Timber Wolf.” Ex. 8 at 0582.
 4
            31.         Defendants’ wolves are protected under the Endangered Species Act.
 5
                                                    Defendants Harm & Harass their Lemurs

 6          32.         At least at least eight lemurs since 2005 have died. Ex. 3 at 0270. Defendants have

 7                      two lemurs left. Ex. 2 at 0266; Ex. 3 at 0272. At least one lemur died since Plaintiffs

                        filed suit. Ex. 2 at 0266 (March 2015 APHIS animal count showing two lemurs); see
 8
                        also Decl. T. Kuehl ¶ 31; Ex. 7 at 432-433 (Tr. P. Sellner 184:17-185:7) (Defendant
 9
                        states at her March 20, 2015 deposition the lemur “Zaboo” and two others were still
10
                        alive). Plaintiffs have made further inquires of Defendants to no avail. Ex. 4 at 0316
11
                        (April 1, 2015 inquiry to Defendants).

12          33.         Red ruffed lemurs and ring-tailed lemurs are highly social animals. Klopfer Aff. ¶ 6.

13                      In the wild they live in large troops eight to twenty large, spread over many hectares,

14                      and spend significant time grooming each other as a form of social interaction. Id.

                        Both species have highly developed cognitive abilities and under certain conditions
15
                        can undergo significant psychological stress levels. Id. Upset lemurs show increased
16
                        heart rate, electroencephalography distortions, increased steroid levels. Id.
17
            34.         Defendants house their lemurs individually because “they don’t get along housed
18                      together.” Ex. 4 at 0302. The lemurs are housed in the “Reptile House.” Ex. 7 at

19                      0439 (Tr. P. Sellner 211:12-14). To escape the cold, the Zoo’s lemurs must access

20                      indoor shelter located inside the Zoo’s “Reptile House,” where they can see an

                  PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                       8
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 1                      alligator, a monitor lizard, and snakes (including a boa constrictor). Klopfer Aff. ¶9.

                        According to Plaintiffs’ expert, to share an indoor space with reptiles disturbs lemurs,
 2
                        since in the wild they are preyed upon by crocodiles and snakes. Klopfer Aff. ¶9.
 3
            35.         Plaintiffs’ expert observed that good practice requires nonhuman primate animals to
 4
                        be housed socially. Klopfer Aff. ¶ 6. He also noted that gender differences likely
 5
                        account for the lack of harmony between the lemurs. Klopfer Aff. ¶ 7. According

 6                      Plaintiffs’ expert, Defendants’ housing arrangements interfere with lemurs’ natural

 7                      social behaviors. Klopfer Aff. at 11.d.

            36.         According to Plaintiffs’ expert, captive lemurs require a variety of changing play and
 8
                        enrichment objects and large cages are required to keep them occupied. Klopfer ¶6, 8.
 9
                        Industry standards for lemur husbandry suggest changing lemurs’ entire enrichment
10
                        every few days, and that the cage must account for lemurs’ different natural behaviors
11
                        (red ruffed lemurs prefer to be high in the canopy and ring-tailed lemurs spend up to

12                      one-third of their time on the ground). Id.

13          37.         Defendants’ daily care program does not include any lemur-specific actions. Ex. 3 at

14                      0277-0278. Defendant testified she has no schedule for changing the lemurs’

                        enrichment and might do so “every couple months.” Ex. 7 at 0438 (Tr. P. Sellner at
15
                        206:1-7). The Zoo’s lemur enrichment consists of static and secured perches and
16
                        branches, which USDA has documented as filthy with feces. See Ex. 4 at 0302-0303
17
                        (Primate Enrichment Plan); Ex. 1 at 0044, 0048, 0050; Ex. 4 at 0134. The facts
18                      confirm that lemur cages at the Zoo hinder, not help lemurs’ natural behaviors.

19          38.         Lemurs’ well-being requires light cycles. Ex. 1 at 0018. The regulations require light

20                      to permits routine inspections, cleaning, animal observation, and a light cycle for the

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 1                      animal. 9 C.F.R. § 3.77(c). In 2011, USDA cited the lemur area for a lack of

                        adequate lighting, which “does not facilitate good husbandry practices nor provide
 2
                        lighting sufficient for [the lemur]’s well being.” Ex. 1 at 0018.
 3
            39.         Plaintiffs intending to see lemurs during their visits to the Zoo in 2012-2013 were
 4
                        unable to because of the dark lemur housing. Decl. T. Kuehl ¶ 6-7; Decl. J. Braumann
 5
                        ¶ 5; Decl. L. Kuehl ¶13.

 6          40.         Veterinary records show from April 23, 2007 to February 5, 2015 no veterinary care

 7                      was provided to the Zoo’s lemurs. Ex. 4 at 0290-0292, 0313-031, 0326, 0327. The

                        Zoo’s veterinarian admitted he has no experience with lemurs, has only seen them on
 8
                        National Geographic, has never consulted lemur professional standards or
 9
                        publications, does not recall treating the Zoo’s lemurs despite two dying during his
10
                        tenure as attending veterinarian, and knows nothing about lemur enrichment because
11
                        “I’m not a big monkey person.” Ex. 7 at 541 (Tr. Pries at 113:5-7).

12          41.         Defendants’ Program of Veterinary Care (“PVC”) does not contain any provisions

13                      specific to lemurs. Ex. 4 at 0293-0298. Encephalitis was confirmed in one lemur’s

14                      death by a necropsy and as a result Defendants suspected encephalitis in another

                        lemur death, but Defendants did not obtain necropsies on other lemur deaths or
15
                        investigate the underlying cause of encephalitis. Ex. 4 at 0311-0312; Ex. 7 at 0433,
16
                        434 (Tr. P. Seller at 186:14-188:23; 189:23-190:23). Plaintiffs’ expert stated that in
17
                        most cases, encephalitis in captive endangered species is likely preventable and
18                      treatable. Decl. Klopfer ¶ 11.b. Plaintiffs’ expert stated that in most cases,

19                      encephalitis is likely preventable and treatable. Klopfer Aff. ¶11(b).

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 1          42.         Sanitation in lemur enclosures is particularly important because of the animals’

                        natural scent-marking behavior. Failure to maintain sanitary housing interferes with
 2
                        lemurs’ ability to act on their natural behaviors. Ex. 1 at 0019, 0033, 0044, 0050.
 3
            43.         On August 17, 2011, USDA cited defendants for “excessive waste on lemur perch,”
 4
                        “mouse feces on lemur perch,” and “excessive presence of flies and fly residue in
 5
                        lemur area.” Ex. 1 at 0019.

 6          44.         The regulations require excessive waste must be removed daily from inside

 7                      enclosures to prevent lemurs from becoming “soiled, and to reduce disease hazards,

                        insects, pests, and odors.” 9 C.F.R. § 3.84(a). As documented in Paragraph 45 below,
 8
                        USDA has repeatedly cited the Zoo for the lemurs’ pens and housing areas having
 9
                        “large accumulations” of excrement, waste, dirt, flies, rodent holes in walls and
10
                        ceilings, cobwebs, grime, and rust; these conditions are harbors for disease, health
11
                        hazards, pests, odors and compromise animal health, well-being, and animal

12                      husbandry practices.

13          45.         The USDA reports contain multiple examples of poor sanitation in the lemur

14                      enclosures at the Defendants’ Zoo: Ex. 1 at 0019 (excessive waste on lemur perch

                        that comes into contact with the lemur, mouse feces on lemur perch, excessive
15
                        presence of flies and fly residue in lemur area); Ex. 2 at 0070 (trash containers
16
                        without lids and rusted primate enclosure); Ex. 2 at 0073 (majority of lemurs’
17
                        enclosure walls and objects (perches, branches, shelters) have a build-up of dark
18                      brown / black grime contrary to 9 C.F.R. § 3.75(c)(3)); Ex. 1 at 0039 (large

19                      accumulation of chicken feathers, dust, dirt and/or used sawdust bedding throughout

20                      the floor around lemur enclosures; electrical outlet with several items plugged in

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 1                      covered and surrounded by a significant amount of dust, dirt, cobwebs, chicken

                        feathers contrary to 9 C.F.R. § 3.75(b)); Ex. 1 at 0040 (ceiling tiles within two lemur
 2
                        enclosures absent, severely old, worn and/or chewed and exposed ceiling made of
 3
                        plaster with non-sealed wood and cannot be cleaned and sanitized contrary to 9
 4
                        C.F.R. § 3.75(c)(2)); Ex. 2 at 0067 (build-up of oils, dirt and debris on inside walls
 5
                        and objects in lemur area contrary to 9 C.F.R. § 3.84); Ex. 2 at 0096–0097 (rodent

 6                      feces, feathers, dirt, dry food kibble on floor of food storage area housing lemurs

 7                      contrary to 9 C.F.R. § 3.84(d) and 3.125(c); Ex. 2 at 0103 (large amount of dust, dirt,

                        debris, cobwebs on floor, walls, ceiling, husbandry items, light and electrical fixtures
 8
                        in red ruffed lemur’s area contrary to 9 C.F.R. § 3.75(c)(3)); Ex. 8 at 0586, 0650; Ex.
 9
                        2 at 0264 (noting scent-marking species’ enclosures must be sanitized or replaced).
10
            46.         Plaintiffs’ expert stated that exposure to and contact with uncleanliness can increase
11
                        disease risks for lemurs, like encephalitis infections that killed Defendants’ lemurs

12                      Maddie and Gaz in 2006. Klopfer Aff. ¶11B; Ex. 3 at 0272.

13          47.         Plaintiffs’ expert concluded that Defendants’ lemurs are housed, fed, and maintained

14                      in a manner that not only significantly disrupts their natural behaviors and belies

                        basic minimum animal husbandry standards, and the animals’ physiology. Klopfer
15
                        Aff. ¶ 11.d.
16
            48.         The facts demonstrate that Defendants’ animal husbandry practices for lemurs harass
17
                        the lemurs by interfering with the species’ instinctual behaviors and needs, and harm
18                      the lemurs by causing illness and death.

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 1                                                  Defendants Harm & Harass their Big Cats

            49.         Defendants currently possess five endangered tigers and three lions, which are either
 2
                        endangered Asiatic lions or soon to be listed as threatened African lions (collectively
 3
                        Big Cats). Ex. 2 at 0266; Ex. 4 at 0283-0286, 0317, 0321-0324, 0330-0337; Ex. 9 at
 4
                        0709 (regarding African lion listing).
 5
            50.         Since this lawsuit was filed in June 2014, two of the Defendants’ tigers and one of the

 6                      Defendants’ lions have died. These three cats all died within a month of each other.

 7                      Six big cats have died in the last three years, on average two cats every year.

                        Specifically, Kamarah the lion died in 2014-2015; Luna the tiger died in 2014;
 8
                        Casper the tiger died in November 2014; SherKhan the tiger died in February 2014;
 9
                        Raoul the tiger died in June 2013; Sheba the tiger died in 2012; and Rajah the tiger
10
                        died in approximately 2005. Ex. 3 at 0272-0273.
11
            51.         Defendants have testified that many of the Zoo’s Big Cats and animals die suddenly,

12                      without warning. Ex. 7 at 0422, 0432, 0429 (Tr. P. Sellner 144:4-8 (“quick”

13                      pneumonia killed tiger), 183:19-21 (lemur “suddenly died”); 170:1-171:10 (“cold

14                      snap” killed a tiger USDA had just cited for immediate medical treatment from a

                        wound); Ex. 7 at 0544 (Tr. Pries 128:15-25) (acute pneumonia spreads so fast an
15
                        animal suffocates). Plaintiffs’ expert reviewed the Defendants’ and veterinarian’s
16
                        history and experience with Big Cats. See, e.g., Conrad Aff. ¶¶ 8, 14, 17.
17
            52.         Defendants and their veterinarian do not provide regular preventative care to the Big
18                      Cats. Id. Defendants’ claims that the causes of Big Cats’ deaths were neither

19                      preventable nor treatable is not based in fact.

20
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 1          53.         Plaintiffs’ expert concluded that the Defendants lack the experience and expertise to

                        diagnose their Big Cats in time to afford the animals appropriate veterinary care.
 2
                        Conrad Aff. ¶10.
 3
            54.         Defendants have not conducted necrospies on their Big Cats. Ex. 7 at 0434 (Tr. P.
 4
                        190:2-23) Sellner Plaintiffs’ expert stated that it is industry standard and a generally
 5
                        accepted practice of preventing disease to necropsy animals who have died. Conrad

 6                      Aff. ¶14.

 7          55.         Plaintiffs’ expert evaluated the facts available regarding the Defendants’ animals, and

                        based on that information and her experience, concluded that the Defendants’ Big
 8
                        Cats died of both preventable and treatable causes. Conrad Aff. ¶¶ 15, 18–19, 21.
 9
            56.         Plaintiffs’ Expert accordingly concluded that Defendants cannot offer their surviving
10
                        endangered cats any assurance of a life free from harassment nor a death free from
11
                        indignity and needless suffering. Conrad Aff. ¶15; Allen Aff. ¶18.

12          57.         Having considered the qualifications and admissions of Defendants’ attending

13                      veterinarian, Plaintiffs’ experts concluded that he is neither qualified to fulfill nor

14                      committed to fulfilling the responsibilities the USDA requires of him. Conrad Aff. ¶¶

                        21, 24; Klopfer Aff. ¶ 11(a). Defendants’ failure to enlist an appropriately trained
15
                        and competent veterinarian harms and harasses their big cats.
16
            58.         USDA requires exhibitors to “remov[e] and dispos[e] of animal and food wastes,
17
                        bedding, dead animals, trash and debris” and remove “excreta” “from primary
18                      enclosures as often as necessary to prevent contamination of the animals contained

19                      therein and to minimize disease hazards and to reduce odors.” 9 C.F.R. §§ 3.125(d),

20                      3.131(a). The USDA has cited Defendants for failing to comply with 9 C.F.R. §§

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 1                      3.125(d), 3.131(a) at the Zoo, including with respect to Defendants’ big cat

                        enclosures. Ex. 1 at 0024–0029; Ex 1 at 0041 (large piles of feces in corners and
 2
                        smaller piles scattered throughout each tiger and lion enclosure); Ex. 2 at 0093 (large
 3
                        numbers of flies near the tigers’ food source ); Ex. 1 at 0028 (tiger enclosures had an
 4
                        “excessive accumulation” of animal waste which “can increase disease risks, odor
 5
                        levels, and pest levels.”); Ex. 2 at 0258 (“excessive number” of flies on Big Cats,

 6                      their bedding and food, and large amounts of animal waste);.

 7          59.         In the August 2014 inspection USDA cited Defendants for pest control violations,

                        noting that “[t]he presence of pests can lead to health hazards for the animals. A safe
 8
                        and effective program for the control of pests including flies, birds, spiders and
 9
                        rodents must be established and maintained.” Id. USDA noted that the tiger “is
10
                        twitching and pawing” at the flies. Id. at 0260.
11
            60.         On October 7, 2014 during a site inspection, USDA reported Casper the tiger had a

12                      red and swollen “open wound” of 2-3 inches with red tissue visible. Ex. 2 at 0262.

13                      USDA reported Dr. Pries had visited the tiger in August and did not prescribe any

14                      treatment. Id. The USDA commented that “[s]kin wounds can become infected and

                        be painful for the animal. Also, a thin body condition can indicate other medical
15
                        problems occurring in the animal. The licensee must have this animal examined by a
16
                        licensed veterinarian by close of business on 9 October 2014 in order to ensure that
17
                        an accurate diagnosis for the thin body condition and skin wound is obtained and that
18                      an appropriate treatment plan is developed and followed. The licensee must

19                      document the outcome of this consultation, including the diagnosis, treatment and

20                      resolution of the condition, and make it available to the inspector upon request.” Id.

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 1                      Dr. Pries issued a letter dated October 8, 2014 and recommended to allow the Big Cat

                        to continue licking his wound, and provide amoxicillin powder for a systemic
 2
                        treatment. Ex. 4 at 0320. Casper died in November 2014; Defendants claim he died
 3
                        of “pneumonia”. Ex. 3 at 0272.
 4
            61.         USDA has cited Defendants for insufficient enclosures to contain their tigers. Ex. 1
 5
                        at 0027; Ex. 2 at 0098 (insecure enclosures with a “gap that could be pushed apart for

 6                      animals to enter / exit”); Ex. 1 at 0034 (sagging fencing in lion enclosure and does not

 7                      effectively restrict animals).

            62.         Plaintiffs have observed lion enclosures strewn with fly-laden meat and other food
 8
                        scraps, lions themselves covered with flies on their ears and noses, piles of manure
 9
                        across the cage, and essentially no enrichment. L. Kuehl Decl. ¶ 11; Ex. 8 at 0572.
10
            63.         Defendants claim the daily care program for the Big Cats includes pools, bowling
11
                        balls, tires, large plastic drums, scratching logs. Ex. 3 at 0277; Ex. 4 at 0299.

12                      Plaintiffs’ photographs the specific components of the daily program are not

13                      implemented. Ex. 8 at 0575-0579; 0581; 0583; 0645-0646; 0649.

14                                                          Defendants Harass Their Wolves

            64.         Defendants previously owned four endangered wolves. Ex. 4 at 0329. One wolf pup
15
                        died three months after arriving at the Zoo in 2010 and the “old female” died in 2013.
16
                        Ex. 4 at 0329.
17
            65.         Defendants’ veterinarian Dr. Pries has only treated Defendants’ wolves with various
18                      dewormers and rabies, distemper, or other essential vaccines were never administered

19                      to the Zoo’s wolves. Ex. 4 at 0329, 0290–0298.

20
                  PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                    16
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 1          66.         Dr. Pries testified that wolf treatments must be “extrapolated” from treatments he

                        knows for dogs. Ex. 7 at 0536 (Tr. Pries 94–95).
 2
            67.         Plaintiffs’ expert concluded that the wolves experience inadequate veterinary care,
 3
                        and this contributes to the risks they are exposed to. Conrad Aff. ¶28.
 4
            68.         The facts demonstrate that due the conditions the wolves live in at the Zoo, veterinary
 5
                        care is paramount to prevent the likelihood of injury. Id.

 6          69.         USDA inspectors repeatedly identified Defendants’ wolves as living in enclosures

 7                      with impermissible “large accumulations of feces,” with large piles in the corners and

                        smaller piles scattered throughout the enclosure contrary to 9 C.F.R. § 3.131(a). Ex. 1
 8
                        at 0041. Other USDA reports have also documented a “build-up of old feces and food
 9
                        waste” in the wolf enclosure. Ex. 2 at 0248, 0256.
10
            70.         USDA has observed failure to clean the wolf enclosures can lead to health and
11
                        disease hazards, pests, and odors. Ex. 2 at 0248.

12          71.         USDA inspectors identified multiple problems with wolf enclosure perimeters,

13                      creating risks to the animals, the public, and not functioning as a proper containment

14                      system. In July 2013, a USDA inspector noted that contrary to 9 C.F.R. § 3.127(d),

                        the perimeter fence surrounding the big cats, bears and wolves was inadequately
15
                        short, with gaps that would allow animals to enter or exit the enclosures; one month
16
                        later, USDA inspectors again found that “the perimeter fence surrounding the big
17
                        cats, bears and wolves has a section of fence that has become detached from the fence
18                      post and is sagging out from the facility.” Ex. 2 at 0098, 0106.

19          72.         Plaintiff Tracey Kuehl observed in 2013 that the wolves were wet, muddy and caked

20                      in feces, and exhibited signs of extreme annoyance from fly bites, including red sore

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 1                      ears. T. Kuehl Decl. ¶26; Ex. 8 at 0648. Plaintiff John Braumann noted that the

                        wolves at the Zoo during his October 2012 visit were living in wet, muddy, feces-
 2
                        ridden enclosures. Braumann Decl. ¶12; Ex. 8 at 0687, 0688.
 3
            73.         In developing a veterinarian-approved exercise plan for wolves, Defendants “should
 4
                        consider providing positive physical contact with humans that encourages exercise
 5
                        through play or similar activities.” 9 C.F.R. § 3.9(a)(2). Defendants’ “exercise plan”

 6                      is completely blank, other than a citation to the preceding regulatory requirement. Ex

 7                      4 at 0310. Defendants admitted that their daily care program does not even address

                        wolves. Ex. 3 at 0277. The facts demonstrate that Defendants simply cannot meet
 8
                        their wolves’ physical needs.
 9
            74.         Plaintiffs witnessed that the Zoo’s gray wolf enclosures contain barely any
10
                        enrichment objects, and those that are provided are rarely—if ever—changed. T.
11
                        Kuehl Decl. ¶ 27 (noting that the environmental enrichment for the wolves had not

12                      changed in nine months). One form of enrichment for the wolves Plaintiffs witnessed

13                      was a tube that connects visitors to the inside of the wolf enclosure, allowing visitors

14                      to feed wolves food, potentially disrupting wolves’ feeding habits, and injuring them

                        through uncontrolled amounts of food. Braumann Decl. ¶12.
15
            75.         The Zoo’s wolf enclosures may be a health risk to the wolves.
16
                                                   Cage Sizes Harass Endangered Species
17
            76.         The regulation on animal enclosures states “shall be constructed and maintained so as
18                      to provide sufficient space to allow each animal to make normal postural and social

19                      adjustments with adequate freedom of movement. Inadequate space may be indicated

20
                  PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                   18
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 1                      by evidence of malnutrition, poor condition, debility, stress, or abnormal behavior

                        patterns.” 9 C.F.R. § 3.128.
 2
            77.         The USDA has documented excessive feces in the cages of the lemurs, tigers, lions,
 3
                        and wolves. Feces strewn in animal’s cage makes the feces-covered areas unusable to
 4
                        the animal, or usable only if the animal accepts sitting, lying, or standing on its own
 5
                        feces and an animal’s natural behavior is to avoid its waste. Conrad Aff. ¶ 29. Feces-

 6                      filled cages in effect decrease, or shrink, the space available to an animal in its

 7                      enclosure. Ex. 8 at 0585, 0623, 0576.

            78.         The Zoo’s lack of animal husbandry practices is one factor that has the effect of
 8
                        limiting the enclosure space available to an animal.
 9
            79.         This decreased space may injure and harass the animals at the Zoo, including the
10
                        endangered animals.
11
            80.         As stated by Plaintiffs’ experts, lack of enrichment in cages may also disturb animals’

12                      natural behaviors. See, e.g., Conrad Aff. ¶ 33; Klopfer Aff. ¶ 7.

13          81.         Plaintiffs have observed disturbing behaviors in the caged animals, possibly

14                      indicating psychological distress due to cage size and lack of enrichment. Plaintiff

                        Braumann observed a tiger obsessively pacing back and forth, a baboon shaking the
15
                        sides of his cage, and a wolf hovering over a food pipe. Braumann Decl. ¶ 7, 12, 22.
16
                        Plaintiff Harvey observed coyotes pacing back and forth, back and forth, back and
17
                        forth. Harvey Decl. ¶ 9.
18          82.         The behaviors discontent, agitation, or boredom and the cage size, and/or the lack of

19                      enrichment, may be a factor which harasses these animals’ natural behaviors.

20
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 1                        Defendants’ Poor Management, Operational and Financial Functions Harass Its
                                       Endangered Species, Creating a Likelihood of Injury
 2          83.         Defendants’ property, 300 zoo animals, and a 45-cow operating dairy farm are solely

 3                      maintained by Defendants Pamela and Tom Sellner. Ex. 3 at 0276, Ex. 7 at 0389 (Tr.

 4                      P. Sellner at 11:3-17).

            84.         Plaintiffs’ expert analyzed the Defendants’ discovery regarding the staffing and
 5
                        volunteer at the Zoo, and he concluded that it is inadequate to meet the primary
 6
                        responsibilities necessary to provide for the animals’ basic care, much less the
 7
                        animals’ behavioral and social needs. Decl. D. Allen ¶ 21. Based on the facts,
 8
                        Plaintiff’s expert estimated that the Zoo would need at least five full-time zookeepers,

 9                      one full time veterinary technician, and at least a contract veterinarian to be

10                      successful and humanely care for 300 animals. Id. at ¶ 22. USDA recommended the

11                      Zoo decrease the number of animals as “the work load exceeds the staffing level” and

                        ordered that the staffing level “must be increased to include additional adequately
12
                        trained employees or the numbers of the animals shall be decreased until such point
13
                        the present staff can accommodate the needs of the animals.” Ex. 1 at 0021. Three
14
                        months later USDA again observed inadequate staffing “does not provide for the
15                      health and well-being of the animals”, and ordered “the staffing level must be

16                      increased to include additional adequately trained employees/volunteers or the

17                      numbers of the animals shall be decreased until such point the present staff can

                        accommodate the needs of the animals.” Ex. 1 at 0029. Defendants responded by
18
                        acquiring more animals, despite not having a decision-making process or criteria for
19

20
                  PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                   20
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 1                      animal acquisitions, and despite no staffing changes, or other changes in animal

                        inventory. Ex. 7 at 0422 (Tr. P. Sellner at 192:12-194:4).
 2
            85.         Ms. Sellner cannot be all places at all times (she sits on her “throne” during the
 3
                        daytime (Ex. 7 at 0412, Tr. P. Sellner at 104:12-19)). Mr. Sellner works away from
 4
                        the farm and the Zoo during the daytime from 6am until 3:30pm or 4pm. Ex. 7 at
 5
                        0490 at (Tr. T. Sellner 25:5-12).

 6          86.         Defendants allow for impermissible unsupervised public contact with animals. See,

 7                      e.g., Ex. 2 at 0245-0246; Decl. J. Braumann ¶ 15 (unsupervised “tiger time” at the

                        Zoo) and Ex. 8 at 0689; Ex. 8 at 0629 (visitors allowed to handle raccoon’s face and
 8
                        mouth); Decl. J. Braumann ¶ 23 (ostrich nipping at visitors).
 9
            87.         Ms. Sellner’s qualifications to provide for endangered species and in a zoo setting are
10
                        based on piecemeal, self-taught information. Ex. 3 at 0275; Ex. 7 at 0390, 0398,
11
                        0402, 0404 (Tr. P. Sellner at 15:4-11 (4H and Future Farmers of America); 48:13-

12                      49:17; 63:11-19 (considers self an expert on animal husbandry); 72:5-10 (has one

13                      person to consult regarding zoo management); Ex. 5 at 0349 (an 8 hour course and

14                      one examination in big cats).

            88.         To operate a zoo requires adequate funding. Allen Aff. ¶ 10; Conrad Aff. ¶ 6
15
                        (endangered species care “is an extremely expensive financial undertaking.”).
16
            89.         For 2008-2013, the Zoo’s income was approximately $10,000 per year from ticket
17
                        sales and $5,000 per year from donations, mobile zoo profits, and feed sales ($50 per
18                      animal per year). Ex. 3 at 0281; Ex. 6 at 0372-0383 (Schedule C of tax return 2008-

19                      2013). The Sellners make personal contributions to the Zoo of hay, forage, propane,

20
                  PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                  21
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 1                      electricity, and labor. Ex. 3 at 0281; Ex. 7 at 0416 (Tr. P. Sellner 117–118:23–25, 1–

                        4).
 2
            90.         During the same time frame, the Zoo’s annual expenses ranged between $16,987 and
 3
                        $26,493 (between $56.62 and $88.31 per animal per year). Ex. 6 at 0355–0356.
 4
            91.         Six months ago, the Zoo only had $4,373 in emergency funds, and no line credit. Ex.
 5
                        6 at 0362; Ex. 7 at 0416 (Tr. P. Sellner 118:20-119:17) (admitting $5,000 reserve is

 6                      the maximum for the Zoo and there is no line of credit).

 7          92.         Plaintiffs’ experts reviewed the facts, and concluded that the Zoo’s income is

                        insufficient provide for the veterinary, feed, enrichment, enclosures, and basic animal
 8
                        husbandry needs of the Zoo. Allen Aff. ¶ 10; Conrad Aff. ¶4.
 9
            93.         Defendants spent less than $700 per year total on veterinary care in 2014. Ex. 6 at
10
                        0355; see Ex. 6 at 0373, 0375, 0377, 0379, 0381, 0383). This amounts to $2.33 per
11
                        animal.

12          94.         Defendants’ feed and environmental enhancement costs are between $5,328 and

13                      $7,750 (between $17.76 and $25.80 per animal). Ex. 6 at 0355.

14          95.         Plaintiffs’ expert concluded that these facts mean that most of the animals, including

                        the endangered species, are getting “zero” veterinary diagnostic work and no
15
                        preventative exams. Conrad Aff. ¶7 (estimating minimum basic annual veterinary
16
                        needs at least $250 for wolves and $300 for tigers and lions (“big cats”); Decl. Allen
17
                        ¶15 (estimating basic veterinary needs at $250 for lemurs and $1,000 for tigers).
18          96.         The Sellners’ tax returns show 2010-2014 income of less than approximately $60,000

19                      per year (which has included up to $25,000 of IRA income). Ex. 6 at 0363–0371. The

20                      Sellners’ personal assets are approximately $673,403. Ex. 6 at 0350. As of September

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 1                      2014, the Sellners only had $966 in cash. Ex. 6 at 0350. Sellners’ liabilities are, at last

                        estimate, approximately $175,000. Ex. 6 at 0350.
 2
            97.         A lack of financial resources directly impacts the ability to provide endangered
 3
                        species with food, water, safe enclosures, sanitary living environments, and
 4
                        enrichment. Allen Aff. ¶10.
 5
            98.         USDA inspectors’ reports have identified major problems with the Zoo as a whole, all

 6                      of which have health and care ramifications for all the animals. Plaintiffs have

 7                      witnessed some of these health problems at the Zoo. For example, a thin lion

                        vomiting in its cage, several dead baby pigs left in the open pen for at least hours, and
 8
                        a dead rodent floating in an animal’s water pond. Decl. N. Harvey ¶ 9; Decl. K. Bell
 9
                        ¶6; Decl. L. Kuehl ¶22; Ex. 8 at 0573, 0651.
10
            99.         The general categories for these violations in the USDA reports, and as shown in
11
                        USDA photographs (Ex. 2 at 0110-0244) for various animals at the Zoo. They

12                      include excessive excreta in cages; no drinking water for animals, dirty drinking

13                      receptacles, algae in drinking water and in enrichment pools; dirty food bowls, dirty

14                      rotten food and fruit (unhealthy feed can cause illness); excessively damp and poorly-

                        drained corrals (which can cause hoof rot, or when frozen provide no place to lie
15
                        down); trash and poor housekeeping present near animal enclosures (unsanitary
16
                        housekeeping); soiled bedding (unsanitary husbandry); and poorly maintained
17
                        enclosures that pose risks to the animals and to the public (risks of injury and escape).
18                      See Ex 1 at 0028 (Highland cows in poorly drained pen); Ex. 2 at 0098 (at least five

19                      enclosures with six animals with dirty water receptacles); Ex. 1 at 0026 (during

20                      USDA inspection water receptacle empty and when watered dogs drank

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 1                   “vigorously”); Ex. 2 at 0067 (trash receptacles with soiled bedding, animal waste and

                     food have been uncovered for at least two days and this does not provide for the
 2
                     comfort and well-being of the animals); Ex. 2 at 0216 (dead rodent in coyote
 3
                     enclosure).
 4
            100.     Defendants must have an attending veterinarian endorse their PVC. 9 C.F.R. § 2.40.
 5
                     Defendants chose Dr. Pries as their attending veterinarian based on his physical

 6                   proximity to the Zoo, not on his experience or expertise in treating endangered

 7                   species. Ex. 7 at 0439-0440 (Tr. P. Sellner at 212:14-214:15).

            101.     Dr. Pries testified that “[o]ther than seeing them on National Geographic, I’ve never
 8
                     been around lemurs[]”, Ex. 7 at 0540 (Tr. Pries 112:7-11), and his experience treating
 9
                     lemurs is “[n]one that I know of.” Id. at 0541 (Tr. Pries 113:24-114:1).
10
            102.     Dr. Pries has observed tigers at zoos and at the circus (Id. at 0542 (Tr. Pries 120:7-
11
                     11)), and he cannot think of any lions at the Zoo he has treated. Id. at 0548 (Tr. Pries

12                   144:6-8).

13          103.     Plaintiffs’ experts stated that the choice of Dr. Pries has created a likelihood of injury

14                   for the Zoo’s endangered species. See Decl. D. Allen ¶ 18 (failure to hire adequate

                     veterinary support makes animals suffer needlessly); Decl. J. Conrad ¶ 6 (captive
15
                     wildlife prone to health problems and much of their must be preventative because by
16
                     nature they hide problems until they are very sick.)
17
            104.     Dr. Pries’ veterinary practice consists predominantly of dogs and cats. Ex. 7 at 0526
18                   (Tr. Pries 54:18-55:5) (over 12,000 dogs and more than 12,000 cats).

19          105.     Dr. Pries is named in the Zoo’s Program of Veterinary Care as the attending

20                   veterinarian. Ex. 4 at 0293-0294. Dr. Pries does not agree that his role with the Zoo

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 1                   is that of attending veterinarian and Ms. Sellner “uses whoever she wants to.” Ex. 7

                     at 0551 (Tr. Pries 155:13-156:10). He disagrees that the attending veterinarian for the
 2
                     Zoo must address environmental enrichment or nutritional concerns. Ex. 7 at 0539
 3
                     (Tr. Pries at 107:2-14) (“that’s not my role as veterinarian.”).
 4
            106.     Ms. Sellner testified that Dr. Pries “checks boxes” in preparing the Program of
 5
                     Veterinary Care. Ex. 7 at 0442 (Tr. P. Sellner 222:6-17). Dr. Pries does not recall

 6                   going over the information represented in the PVC with the Zoo owners. Ex. 7 at

 7                   0538, 0551 (Tr. Pries at 101:9-15; 155:13-24). Dr. Pries testified that he usually

                     conducts one walk-through of the Zoo annually, he goes to the Zoo “maybe three
 8
                     times a year”, and he is “not there that long.” Ex. 7 at 0515, 0531, (Tr. Pries 10:11-
 9
                     20; 73:13-74:2; 75:6-8).
10
            107.     Dr. Pries’ eight years of involvement with the Zoo’s 300 animals is documented by a
11
                     total of three (3) pages of veterinary treatment records, none of which indicate

12                   treatment dates or the animal treated, and the limited amount of money spent by the

13                   Sellners at his clinic. Ex. 4 at 0290-0292; Ex. 7 at 0531 (Tr. Pries at 75:15-76:10)

14                   (confirming the 2007-2015 bill for veterinary services was $6,363.76).

            108.     Dr. Pries testified these records are kept in the ordinary course of business. Ex. 7 at
15
                     0527 (Tr. Pries at 59:24-60:2).
16
            109.     There is no question that the Defendants actions and omissions have harassed, and
17
                     actually harmed, its endangered species.
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               PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                       25
               IN	  SUPPORT	  OF	  MOTION	  FOR	  SUMMARY	  JUDGMENT	  
     	  

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 1                                            Defendants Unlawfully Traffic
                                  Endangered Species of Lemurs, Tigers & Lions, and Wolves
 2          110.     Defendants have admitted they trade in protected species. Ex. 7 at 0402 (Tr. P.

 3                   Sellner 61-62).

 4          111.     Defendants have purchased, or been donated, endangered species. Ex. 4 at 0283-

                     0289, 0348. Defendants have acquired at least the following animals, most of which
 5
                     are through “donation”: Ex. 4 at 0283 (two eight year old female “African” lions
 6
                     purchased on 9/8/2010), 0284 (one adult female tiger received by “donation” on
 7
                     11/15/2003), 0285 (one adult male white tiger and one female adult yellow tiger
 8
                     “donated” on 7/10/2014), 0286 (two adult tigers one male and one female “donated”

 9                   on 4/25/2004), 0287 (two ringtail lemurs one male and one female “donated” on

10                   9/8/2010), 0288 (three hybrid wolves, two male and one female “donated” on

11                   7/22/2009), 0348 (two male hybrid wolf pups donated on 3/16/2010).

            112.     Defendants admitted they have “donated” two tigers cubs across state lines. Ex. 7 at
12
                     0421 (Tr. P. Sellner 138:21–23).
13
            113.     Defendant Pamela Sellner explained that the “donation” approach is well-known
14
                     throughout private owners of exotic animals and way to avoid permitting. Ms.
15                   Sellner testified that she makes an intentional decision to donate an animal that would

16                   otherwise be covered by the ESA. Ex 7 at 0402_(Tr. P. Sellner 61:10-62:11). Ms.

17                   Sellner stated that she now knows how to fill USDA transfer papers out “properly”

                     because she someone she regards as an expert did federal prison time for doing
18
                     transfer papers “wrong.” Ex. 7 at 0410 (Tr. P. Sellner at 95:8-19).
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               PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                 26
               IN	  SUPPORT	  OF	  MOTION	  FOR	  SUMMARY	  JUDGMENT	  
     	  

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 1          114.     Ms. Sellner testified that she intentionally marks that endangered animals she

                     acquires or transports across state lines as “donated” to her or “donated” by her,
 2
                     rather than sold. Ex. 7 at 0402 (Tr. P. Sellner 61-62) (and noting that when she
 3
                     transfers animals within Iowa, she marks them as “sold”); Ex. 4 at 0321–0377
 4
                     (acquisition and disposition records for tigers, lions, lemurs, and wolves).
 5
            115.     Ms. Sellner acknowledged that her decision to “donate” endangered animals is

 6                   because of ESA’s prohibition on interstate wildlife trafficking and she agreed that she

 7                   makes an intentional decision to “donate” endangered animals that would otherwise

                     be covered by the ESA. Ex. 7 at 0402 (Tr. P. Sellner 61-62).
 8
            116.     Defendants use acquired animals in their breeding program, which they then place on
 9
                     exhibit at their Zoo, sell to another zoo, or donate to another zoo. Ex. 7 at 0422 (Tr.
10
                     P. Sellner 141-144).
11
            117.     Ms. Sellner testified that large carnivore exhibits, including the tigers and lions, drive

12                   the majority of zoo visitors to her zoo. Ex. 7 at 0498 (Tr. P. Sellner 58–59). Ms.

13                   Sellner testified that she believes her Zoo would have a lot less traffic if the tigers

14                   were no longer at the Zoo. Ex. 7 at 0498 (Tr. P. Sellner 58).

            118.     There is no question that the Defendants have unlawfully traded in protected species
15
                     in the course of commerce.
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               PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                       27
               IN	  SUPPORT	  OF	  MOTION	  FOR	  SUMMARY	  JUDGMENT	  
     	  

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 1
     Dated: June 1, 2015                                                Respectfully submitted,
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            PLAINTIFFS’	  STATEMENT	  OF	  MATERIAL	  FACTS	  	                                             28
            IN	  SUPPORT	  OF	  MOTION	  FOR	  SUMMARY	  JUDGMENT	  
     	  

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